                                               State of Wisconsin
                                                Department of Corrections
                                 INMATE COMPLAINT HISTORY REPORT
                                                    by Date Received
                                          Inmate: 114187 - DALBERG, KENNETH

                 ** Heavily shaded complaints indicate that the rejected complaint was appealed to the Warden
                    ** Lightly shaded complaints indicate that the complaint was appealed to the CCE Office

  Received Date      Complaint Number           Subject              Brief Summary
    02/13/2014       NLCI-2014-3222            7 - Personal          Inmate Dalberg complains of being released from
                                               Property              segregation and missing property.
    02/26/2014       NLCI-2014-4135            14 - Classification   Inmate Dalberg complains SW Lobenstein made
                                                                     inaccurate conclusions stated in his Inmate
                                                                     Reclassification Report.
    05/27/2014       NLCI-2014-10220           11 - Visiting         Inmate Dalberg complains of the decision to deny his
                                                                     nephew placement back onto his visiting list.
    05/30/2014       NLCI-2014-10561           1 - Staff             Inmate Dalberg complains on 5-27-14 Officer Hollander
                                                                     "was observed indulging in several servings of state
                                                                     provided food, in direct violation of that allotted by
                                                                     DAI/DOC Policy & Procedure."
    06/21/2014       NLCI-2014-12069           1 - Staff             Inmate Dalberg complains Officer Hollander was
                                                                     observed entering the unit servery and retrieving two
                                                                     cold trays that were saved from lunch, and took them to
                                                                     the officer's station and placed them on the counter and
                                                                     began to devour.
    06/24/2014       NLCI-2014-12285           1 - Staff             Inmate Dalberg complains on 6-21-14 Officer Hollander
                                                                     "salvaged" a tray of food served on first shift earlier that
                                                                     day, used the dayroom microwave "intended for inmate
                                                                     use" and "devoured" the tray at approximately 3:15 pm,
                                                                     1.25 hours into her shift.
    06/24/2014       NLCI-2014-12286           1 - Staff             Inmate Dalberg complains on 6-22-14 Officer Hollander
                                                                     was observed "indulging" in three different helpings of
                                                                     state provided food.
    07/08/2014       NLCI-2014-13229           15 - ICRS             Inmate Dalberg complains on 6-25-14 the five day
                                                                     deadline expired for the ICE to acknowledge a complaint
                                                                     he originally submitted on 6-10-14 which was returned to
                                                                     him on 6-17-14 and he re-submitted on 6-18-14.
    07/10/2014       NLCI-2014-13390           1 - Staff             Inmate Dalberg complains of Officer Hollander's behavior
                                                                     on 7-5-14 and states, "The purpose of this complaint is to
                                                                     address the fact that C/O Hollander created a safety risk
                                                                     to the institution by vocalizing her dismay that a person
                                                                     has used the ICRS to address concerns of her violating
                                                                     Employee Work Rules, & Policies and Procedures;
                                                                     acting in retribution!"
    07/10/2014       NLCI-2014-13391           1 - Staff             Inmate Dalberg complains of Officer Hollander's behavior
                                                                     on 7-5-14 where she made snide remarks in a vengeful
                                                                     manner about him using the ICRS.
    07/17/2014       NLCI-2014-13946           1 - Staff             Inmate Dalberg complains of Sgt. Dutscheck's actions on
                                                                     7-5-14, during second shift.
    07/22/2014       NLCI-2014-14293           15 - ICRS             Inmate Dalberg complains he believes the ICE appears
                                                                     to be "purposely" putting a spin on his "interpretation" of
                                                                     complaint materials to avoid actually investigating or
                                                                     addressing the issues he has put in front of him on two
                                                                     recent occasions.
    08/29/2014       NLCI-2014-17011           1 - Staff             Inmate Dalberg complains that CO Hollander left the
                                                                     servery, leaving inmate workers unsupervised and stole
                                                                     an open case ice cream cups.

Print Date: January 14, 2024
                        Case 2:23-cv-01430-WED       FiledPage
                                                             03/25/24
                                                                1 of 6   Page 1 of 6
                                                    ** ICRS CONFIDENTIAL **                  EXHIBIT
                                                                                         Document 32-71006 - 1
                                               State of Wisconsin
                                                Department of Corrections
                                 INMATE COMPLAINT HISTORY REPORT
                                                    by Date Received
                                          Inmate: 114187 - DALBERG, KENNETH

                 ** Heavily shaded complaints indicate that the rejected complaint was appealed to the Warden
                    ** Lightly shaded complaints indicate that the complaint was appealed to the CCE Office

  Received Date      Complaint Number           Subject             Brief Summary
    09/30/2014       NLCI-2014-19185           1 - Staff            Inmate Dalberg complains on 9-20-14 at 3:20 pm, he
                                                                    observed Officer Vines eating a "save tray" from the
                                                                    lunch menu which constitutes a work rule violation as this
                                                                    was an unauthorized time to eat because staff are only
                                                                    supposed to eat after all inmates have been fed.
    10/10/2014       NLCI-2014-19949           1 - Staff            Inmate Dalberg complains Officer Vines violated policy
                                                                    and procedure by picking up inmate mail prior to the
                                                                    dayroom closing on 10-5-14. He states Officer Vines
                                                                    picked up mail at 2030 hours and also at 2130 hours
                                                                    which violated DAI 309.04.01.
    10/10/2014       NLCI-2014-19968           7 - Personal         Inmate Dalberg complains Officer Vines and Officer
                                               Property             Dorow performed a cell search on 10-4-14 and during
                                                                    that search, they moved his television from the end of his
                                                                    bunk and to do so, the coaxial cable had to be unhooked,
                                                                    and, while doing so, they loosened the mounting of the
                                                                    coaxial cable to the circuit board.
    10/14/2014       NLCI-2014-20188           1 - Staff            Inmate Dalberg complains of Officer Hollander on B-Unit.
    11/25/2014       NLCI-2014-23429           1 - Staff            Inmate Dalberg complains of Officer Vines on B-Unit.
    11/26/2014       NLCI-2014-23427           1 - Staff            Inmate Dalberg complains of Officer Holsclaw on B-Unit.
    12/01/2014       NLCI-2014-23426           1 - Staff            Inmate Dalberg complains of Officer Liebl in HSU.
    12/05/2014       NLCI-2014-23755           1 - Staff            Inmate Dalberg complains of Officer Holsclaw on B-Unit.
    01/30/2015       NLCI-2015-1985            1 - Staff          Inmate Dalberg complains of Maintenance Supervisor
                                                                  Mr. Pleuss.
    02/20/2015       NLCI-2015-3425            10 - Work & School Inmate Dalberg complains of "unfair hiring practices
                                               Programs           being committed & allowed by Dept. staff in violation of
                                                                  DAI/DOC Policy & Procedure".
    03/27/2015       NLCI-2015-5659            1 - Staff          Inmate Dalberg complains of Officer Vines on B-Unit.
    03/27/2015       NLCI-2015-5673            1 - Staff            Inmate Dalberg complains Nurse Johnson "has it set in
                                                                    her mind that she has the authority to seize and even
                                                                    destroy inmates personal property without allowing them
                                                                    due process to challenge such objection, specifically
                                                                    over-the-counter (OTC) medications, ointments, salves,
                                                                    etc.".
    03/27/2015       NLCI-2015-5674            1 - Staff            Inmate Dalberg complains of items being discarded by
                                                                    staff when he was placed in TLU.
    04/09/2015       NLCI-2015-6598            8 - Rules            Offender Dalberg complains of New Lisbon Correctional
                                                                    Institution/Staff not supplying newly admitted inmates to
                                                                    TLU, Disciplinary Separations, or other applicable
                                                                    statuses with all "NECESSITIES" as listed in DOC
                                                                    303.73 (2); specifically the "comb".




Print Date: January 14, 2024
                        Case 2:23-cv-01430-WED       FiledPage
                                                             03/25/24
                                                                2 of 6   Page 2 of 6
                                                    ** ICRS CONFIDENTIAL **                EXHIBIT
                                                                                       Document 32-71006 - 2
                                               State of Wisconsin
                                                Department of Corrections
                                 INMATE COMPLAINT HISTORY REPORT
                                                    by Date Received
                                          Inmate: 114187 - DALBERG, KENNETH

                 ** Heavily shaded complaints indicate that the rejected complaint was appealed to the Warden
                    ** Lightly shaded complaints indicate that the complaint was appealed to the CCE Office

  Received Date      Complaint Number           Subject             Brief Summary
    05/26/2015       NLCI-2015-9419            1 - Staff            Inmate Dalberg complains that on 5/9/15 Officer Vines,
                                                                    while working in RHU on second shift did not provide him
                                                                    with the proper medications that were prescribed to him
                                                                    nor gave him the opportunity to go over the medications
                                                                    that were as needed. Inmate states, "Officer Vines
                                                                    developed an attitude when I couldn't tell him all of the
                                                                    names of the medications that I was on," so the officer
                                                                    decided he wasn't going to give me any. Officer Vines
                                                                    stated, "If you can't tell me what medications you want
                                                                    then I'm just not going to give you any of them." "Now
                                                                    what are you going to do, RIOT?"
    09/25/2015       NLCI-2015-17932           7 - Personal         Inmate Dalberg complains of the pack-up process of his
                                               Property             medication items/personal property (OTC)over the
                                                                    counter meds being destroyed/taken without his
                                                                    knowledge.
    02/05/2016       NLCI-2016-2589            3 - Discipline       I/M Dalberg complains of issues related to CR #2748535.
    02/12/2016       NLCI-2016-3112            7 - Personal         I/M complains CO Babcock threw away his personal
                                               Property             property, Dawn Dish Soap and a Popular Mechanics
                                                                    magazine, during a TLU pack up.
    03/22/2016       NLCI-2016-6087            7 - Personal         Inmate Dalberg complains that when he was packed up
                                               Property             for TLU he had OTC Nasal Saline Spray, Antifungal
                                                                    Cream and a neoprene ankle support and when he was
                                                                    released back to GP those things are missing. States
                                                                    that he was told they were sent to HSU and now they are
                                                                    missing.
    03/28/2016       NLCI-2016-6542            7 - Personal         Inmate Dalberg complains of missing items from his TLU
                                               Property             pack up by Co. Babcock, states he became aware of the
                                                                    missing items when he unpacked his things on 3/19/16.

                                                                    Inmate states he is missing 2 of 4 white handkerchiefs, a
                                                                    bottle of pine scented prayer oil (would appear to be near
                                                                    empty, but states a little goes along way), (roughly about
                                                                    20 packets of each of the following are missing)artificial
                                                                    sweetener packets, salt and pepper packets and
                                                                    horseradish packets also a bag of q-tips and small
                                                                    dispenser box.
    04/08/2016       NLCI-2016-7529            4 - Medical          Inmate Dalberg complains that he hasn't been issues a
                                                                    special pair of pediatric shoes due to him being diabetic.
    06/23/2016       NLCI-2016-12970           17 - Inmate          Inmate Dalberg complains that his 90 days of being
                                               Accounts             placed in VUNA status isn't be calculated correctly by the
                                                                    Business Office.
    11/18/2016       NLCI-2016-25882           7 - Personal         Inmate Dalberg complains about being denied by the
                                               Property             property dept. supervisor approved property from an
                                                                    outside vendor due to it not being offered in the current
                                                                    vendor catalogs.- fabric ribbon(s) for the Brother model
                                                                    typewriter.



Print Date: January 14, 2024
                        Case 2:23-cv-01430-WED       FiledPage
                                                             03/25/24
                                                                3 of 6   Page 3 of 6
                                                    ** ICRS CONFIDENTIAL **                EXHIBIT
                                                                                       Document 32-71006 - 3
                                               State of Wisconsin
                                                Department of Corrections
                                 INMATE COMPLAINT HISTORY REPORT
                                                    by Date Received
                                          Inmate: 114187 - DALBERG, KENNETH

                 ** Heavily shaded complaints indicate that the rejected complaint was appealed to the Warden
                    ** Lightly shaded complaints indicate that the complaint was appealed to the CCE Office

  Received Date      Complaint Number           Subject              Brief Summary
    01/13/2017       NLCI-2017-1542            1 - Staff             Inmate complains that staff failed to provide a completed
                                                                     DOC-237 as inventory proof of possession of OTC
                                                                     medications (personally purchased) that were sent to
                                                                     HSU upon TLU.

                                                                     *Please provide ICE with copies of receipts and a listing
                                                                     of the medications that you are missing, along with a
                                                                     copy of your TLU DOC-236, not later than 01/19/16.
    02/03/2017       NLCI-2017-3947            17 - Inmate           Inmate Dalberg complains that check# 3700673 was
                                               Accounts              issued to State Public Defenders Office, and was without
                                                                     proper/legal authorization, deducted from his regular
                                                                     acct. rather than his release account as directed on his
                                                                     DOC-184 form.
    02/27/2017       WCI-2017-5759             7 - Personal          Complains regarding missing/damaged property upon
                                               Property              arrival at WCI from NLCI.
    02/28/2017       WCI-2017-5921             7 - Personal          Alleges missing/damaged property upon arrival at WCI
                                               Property              from NLCI.
    03/09/2017       WCI-2017-6830             7 - Personal          Alleges property items missing upon TLU placement in
                                               Property              RHU.
    03/20/2017       WCI-2017-7730             26 - Psychiatry       Complains regarding discontinuation of Citalopram.
    03/31/2017       WCI-2017-8746             12 - Other            ***Alleges copy request sent to "RHU Sgt. Dept." is now
                                                                     missing.
    03/31/2017       WCI-2017-8755             12 - Other            ***Alleges documents sent to the Property Department
                                                                     have not been returned.
    04/28/2017       WCI-2017-11200            26 - Psychiatry       Alleges at NLCI, Dr. Reynolds prescribed dangerous
                                                                     mixture of medications.
    05/24/2017       WCI-2017-13357            7 - Personal          ***Alleges Property Department is not sending out
                                               Property              disposed property.
    06/28/2017       WCI-2017-16477            4 - Medical           Denied cuff in front special needs restriction.

                                                                     *JM - 6/28/17 - Additional documents submitted are
                                                                     being returned as they do not pertain to the 6/27/17
                                                                     denial.*
    08/28/2017       WCI-2017-21957            4 - Medical           Complains regarding Special Needs Committee denial of
                                                                     extra pillow.
    09/06/2017       WCI-2017-22677            4 - Medical           Complains regarding denial of Special Needs Request
                                                                     for Long Strap.
    02/14/2018       WCI-2018-3912             1 - Staff             Alleges Officer Olsen was touching medication during
                                                                     distribution process from blister pack.
    03/01/2018       WCI-2018-5170             4 - Medical           Complains regarding denial of request for special thick
                                                                     mattress.
    05/10/2018       WCI-2018-10493            4 - Medical           Complains regarding Co-Pay charge.
    07/23/2018       WCI-2018-15642            12 - Other            ***Complains recreation calendar changed after
                                                                     purchase of calendar copy.
    09/10/2018       WCI-2018-19180            4 - Medical           Complains regarding discontinuation of extra pillow
                                                                     special needs restriction.
    09/14/2018       WCI-2018-19715            6 - Personal          SCH Shower issue of 8/21/18.
                                               Physical Conditions
Print Date: January 14, 2024
                        Case 2:23-cv-01430-WED       FiledPage
                                                             03/25/24
                                                                4 of 6   Page 4 of 6
                                                    ** ICRS CONFIDENTIAL **                 EXHIBIT
                                                                                        Document 32-71006 - 4
                                               State of Wisconsin
                                                Department of Corrections
                                 INMATE COMPLAINT HISTORY REPORT
                                                    by Date Received
                                          Inmate: 114187 - DALBERG, KENNETH

                 ** Heavily shaded complaints indicate that the rejected complaint was appealed to the Warden
                    ** Lightly shaded complaints indicate that the complaint was appealed to the CCE Office

  Received Date      Complaint Number           Subject             Brief Summary
    12/26/2018       WCI-2018-26205            4 - Medical          Complains he is not being scheduled for surgery
    02/27/2019       WCI-2019-3973             1 - Staff            Complains regarding Sgt. Demers' actions.
    04/18/2019       WCI-2019-7228             4 - Medical          Alleges HSU failed to provide platelet inhibitor.
    06/05/2019       WCI-2019-10010            22 - Dental          Complains regarding Co-Pay rules for diabetic dental
                                                                    procedures.
    08/28/2019       WCI-2019-15147            17 - Inmate          ***Complains WICS deduction for Canteen Orders does
                                               Accounts             not match WICS deduction for Canteen.
    09/03/2019       WCI-2019-15409            17 - Inmate          ***Complains Canteen Order Receipts do not match
                                               Accounts             Trust Account Statement.
    12/16/2019       WCI-2019-21754            4 - Medical          ***Attributes remarks to HSU that appear contrary to
                                                                    Drug Testing Policy.
    03/16/2020       WCI-2020-4607             4 - Medical          ***Complains regarding cancelled surgery.
    04/22/2020       WCI-2020-7059             1 - Staff            Complains regarding Officer Layton and Sgt. Schmidt's
                                                                    actions of 4/10/20.
    06/30/2020       WCI-2020-11172            6 - Personal         ***Complains failure to prevent exposure to COVID-19.
                                               Physical Conditions
    10/12/2020       WCI-2020-17825            12 - Other          Claims his Gabapentin is missing
    11/30/2020       WCI-2020-20783            6 - Personal        ***Complains regarding shower schedule/frequency.
                                               Physical Conditions
    02/08/2021       WCI-2021-2186             12 - Other          Claims Union Supply overcharged him
    02/22/2021       WCI-2021-2934             12 - Other           Complains he was denied a towel for showers
    03/01/2021       WCI-2021-3272             1 - Staff          Complains staff purposely called him by another inmates
                                                                  name
    03/11/2021       WCI-2021-3895             10 - Work & School ***Complains he was removed from school
                                               Programs
    07/27/2021       WCI-2021-11572            4 - Medical        Complains of medical treatment.
    08/05/2021       WCI-2021-11903            12 - Other           Mr. Dalberg complains he is not receiving normal
                                                                    scheduled showers.
    09/20/2021       WCI-2021-14277            12 - Other           Complains canteen contract is not meeting supply &
                                                                    demand needs
    10/04/2021       WCI-2021-15003            1 - Staff            Complains staff skipped his medication
    11/09/2021       WCI-2021-17133            17 - Inmate          Complains USG is out of stock of several items
                                               Accounts
    12/16/2021       WCI-2021-19160            2 - Correspondence   Complains the DOC is using TextBehind
                                               & Publications
    12/29/2021       WCI-2021-19843            17 - Inmate          Complains of canteen limits
                                               Accounts
    01/25/2022       WCI-2022-1606             7 - Personal         Requests to purchase hobby item from outside vendor
                                               Property
    03/23/2022       WCI-2022-4888             13 - Food            Alleges hard-boiled eggs were broken and inedible
    05/13/2022       WCI-2022-7449             4 - Medical          Tylenol was discontinued
    07/11/2022       WCI-2022-10337            4 - Medical          Denied extra pillow
    09/06/2022       WCI-2022-13342            4 - Medical          Denied extra pillow
    01/09/2023       WCI-2023-409              17 - Inmate          Challenges copy fee
                                               Accounts
Print Date: January 14, 2024
                        Case 2:23-cv-01430-WED       FiledPage
                                                             03/25/24
                                                                5 of 6   Page 5 of 6
                                                    ** ICRS CONFIDENTIAL **                   EXHIBIT
                                                                                          Document 32-71006 - 5
                                               State of Wisconsin
                                                Department of Corrections
                                 INMATE COMPLAINT HISTORY REPORT
                                                    by Date Received
                                          Inmate: 114187 - DALBERG, KENNETH

                 ** Heavily shaded complaints indicate that the rejected complaint was appealed to the Warden
                    ** Lightly shaded complaints indicate that the complaint was appealed to the CCE Office

  Received Date      Complaint Number           Subject             Brief Summary
    01/18/2023       WCI-2023-795              17 - Inmate          Complains dandruff shampoo is out of stock through
                                               Accounts             canteen
    02/13/2023       WCI-2023-2109             4 - Medical          Claims HSU is not addressing his back pain
    03/17/2023       WCI-2023-3826             4 - Medical          Complains his low bunk restriction was denied
    04/21/2023       WCI-2023-5674             7 - Personal         Complains he has not received any contraband slip for
                                               Property             property
    04/24/2023       WCI-2023-5951             4 - Medical          Complains his Gabapentin was discontinued
    07/20/2023       WCI-2023-10705            15 - ICRS            complains regarding return letter
    09/05/2023       WCI-2023-13154            4 - Medical          complains regarding back pain
    09/18/2023       WCI-2023-13949            4 - Medical          complains regarding medication refill
    10/27/2023       WCI-2023-16098            4 - Medical          complains regarding being charged a co-pay
    11/03/2023       WCI-2023-16597            15 - ICRS            complains regarding WCI-2023-16098

                                                    *** End of Report ***




Print Date: January 14, 2024
                        Case 2:23-cv-01430-WED       FiledPage
                                                             03/25/24
                                                                6 of 6   Page 6 of 6
                                                    ** ICRS CONFIDENTIAL **                EXHIBIT
                                                                                       Document 32-71006 - 6
